Approved:________________________________
         SARAH L. KUSHNER
         Assistant United States Attorney

Before:    THE HONORABLE LISA MARGARET SMITH
           United States Magistrate Judge
           Southern District of New York

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                              :
UNITED STATES OF AMERICA      :        COMPLAINT
                              :
          - v. -              :        Violations of
                              :        18 U.S.C. §§ 641 & 2
GUSTAVO L. VILA,              :
                              :        COUNTY OF OFFENSE:
          Defendant.          :        WESTCHESTER
                              :
- - - - - - - - - - - - - - - x        20 MJ 8889

SOUTHERN DISTRICT OF NEW YORK, ss.:

          DANIEL B. GOLDSTEIN, being duly sworn, deposes and
says that he is a Senior Special Agent with the United States
Department of Justice, Office of the Inspector General (“DOJ
OIG”), and charges as follows:

                               COUNT ONE
                      (Theft of Government Funds)

          1.   In or about October 2016, in the Southern
District of New York and elsewhere, GUSTAVO L. VILA, the
defendant, did embezzle, steal, purloin, and knowingly convert
to his use and the use of another, and without authority, did
sell, convey, and dispose of records, vouchers, money and things
of value of the United States, and a department and agency
thereof, to wit, the United States Department of Justice, which
exceeded the sum of $1,000, and did receive, conceal, and retain
the same with intent to convert it to his use and gain, knowing
it to have been embezzled, stolen, purloined and converted, to
wit, the defendant used for his own benefit payments from the
September 11th Victim Compensation Fund that did not belong to
him.

          (Title 18, United States Code, Sections 641 and 2.)




                                   1
          The bases for my knowledge and for the foregoing
charges are, in part, as follows:

          2.   I have been employed as a Special Agent with the
DOJ OIG for two months and have participated in the
investigation of this case. Prior to that, I served as a
Special Agent with other federal agencies for over 16 years. I
am currently assigned to the Fraud Detection Office, a unit
within DOJ OIG. This affidavit is based upon my personal
participation in the investigation of this case, my review of
records, reports, and other documents collected in the course of
this investigation, and my conversations with other law
enforcement officers, as well as my training and experience.
Because this affidavit is being submitted for the limited
purpose of establishing probable cause, it does not include all
the facts that I have learned during the course of my
investigation. Where the contents of documents and the actions
and statements of others are reported herein, they are reported
in substance and in part, except where otherwise indicated.

The September 11th Victim Compensation Fund

          3.   Based on my review of public information
published by the federal government and conversations with other
law enforcement officers who spoke with employees in the office
of the September 11th Victim Compensation Fund (“VCF”), I have
learned, among other things that:

               a.   In the wake of the terrorist attacks that
occurred in the United States on September 11, 2001, Congress
created the September 11th Victim Compensation Fund to provide
compensation with federal government funds to any individual who
suffered physical harm or was killed as a result of the
terrorist attacks, or the debris removal efforts that took place
in the immediate aftermath of those attacks. The original VCF
operated from 2001-2004.

               b.   On or about January 2, 2011, President Obama
signed into law the James Zadroga 9/11 Health and Compensation
Act of 2010 (the “Zadroga Act”), which reactivated the September
11th Victim Compensation Fund. The reactivated VCF opened in
October 2011, and was authorized to operate for a period of five
years, ending in October 2016.1

1On December 18, 2015, President Obama reauthorized the Zadroga
Act, extending the VCF for another five years, which allows
individuals to submit their claims until December 18, 2020.

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                c.  Claimants seeking compensation from the VCF
were authorized to work with an attorney and have the attorney
submit a claim on their behalf to the VCF. The Zadroga Act
expressly limited the amount of fees any such attorney was
allowed to charge “for services rendered in connection with [an
individual’s VCF] claim” to “10 percent of an award made . . .
on such claim.” Zadroga Act, Pub. L. 111-347, Section 205.

                d.  A claimant was allowed to authorize an
attorney to receive the claimant’s VCF compensation funds
directly into a bank account maintained by the attorney’s law
firm. To receive VCF payments on a claimant’s behalf, an
attorney was required to submit two documents to the VCF: (1) a
VCF ACH Payment Information Form, with the relevant bank account
information, and (2) a document, signed by the claimant and
either notarized or signed under penalty of perjury in
compliance with 28 U.S.C. § 1746, confirming that the claimant
had authorized the law firm account to receive the claimant’s
VCF payments. Upon receipt of the claimant’s VCF payments, the
attorney was then to distribute those proceeds directly to the
claimant.

The Defendant

          4.   Based on my review of court filings, public
documents, and my review of criminal history records, I have
learned, among other things, that:

                a.  Prior to 2015, GUSTAVO L. VILA, the
defendant, was an attorney in Westchester County in New York and
worked for his own firm, the Law Office of Gustavo L. Vila, PC
(the “Law Firm”).

                b.  On or about April 8, 2015, VILA was arrested
and charged with grand larceny in the second degree.

                c.  On or about December 21, 2015, VILA pleaded
guilty in Westchester County Supreme Court to grand larceny in
the third degree, a felony. Upon his conviction of that felony,
VILA, was automatically disbarred and ceased to be an attorney.
VILA remains disbarred.

                d.   Vila lives in Westchester County.




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The Defendant’s Representation of Victim-1

          5.   Based on my conversations with other law
enforcement officers who interviewed an individual (“Victim-1”)
and his spouse, as well as my review of documents collected from
Victim-1 and VCF, I have learned, among other things, that
Victim-1 is a retired New York City Police Department (“NYPD”)
Officer who was diagnosed with, and suffered from, very serious,
life-threatening medical conditions, including cancer, as a
result of rescue and recovery work he performed at Ground Zero
in 2001, in the wake of the September 11th terrorist attacks.
In light of his medical conditions, Victim-1 engaged VILA, the
defendant, as an attorney to help Victim-1 file a claim with,
and obtain compensation from, the VCF.

          6.   Based on my review of documents collected from
VCF and from Victim-1, I have learned, among other things, that
GUSTAVO L. VILA, the defendant, represented Victim-1 from at
least in or about 2012 through at least in or about 2019, in
connection with Victim 1’s claim for compensation from the VCF.
Throughout that period, VILA held himself out as an attorney to
Victim-1 and to VCF.

          7.   Based on my conversations with other law
enforcement officers who interviewed Victim-1, his spouse, and
employees at the VCF office, and my review of bank account
records and documents collected from Victim-1 and VCF, I have
learned, among other things, that:

                a.  In or about May 2013, GUSTAVO L. VILA, the
defendant, submitted a claim to VCF on behalf of Victim-1
(“Victim-1’s Claim”).

                b.  On or about May 20, 2013, in connection with
Victim-1’s Claim, VILA completed, signed, and submitted to VCF a
form, titled “Exhibit C to the Eligibility Form For Personal
Injury Claimants Attorney Certification of Compliance with
Provision on Limitation on Attorney Fees (Section 104.81).” On
that form, VILA, as Victim-1’s attorney, declared under penalty
of perjury that, among other things, “[t]he amount I have
charged or will charge for the services I have rendered in
connection with this claim, including expenses routinely
incurred in the course of providing legal services, is not more
than 10 percent of an award that might be paid on this claim,”
and “I have not charged nor will I charge for any expenses
incurred in connection with this claim that are not routinely
incurred in the course of providing legal services . . . .”

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                c.  On or about June 16, 2015, VILA submitted to
VCF documents authorizing the VCF to deposit Victim-1’s
compensation award directly into a bank account controlled by
VILA’s Law Firm (the “Bank Account”).

                d.  On or about September 13, 2016, the VCF
authorized an award of approximately $1,030,622.04 to Victim-1.

                e.  On or about October 12, 2016, the VCF
deposited the full amount of that award into the Bank Account.
At that point, VILA was required to distribute all of that
money, less 10% for his purported attorney’s fees, to Victim-1.
VILA, however, did not distribute any of that money to Victim-1
or otherwise inform Victim-1 about this deposit.

                f.  On or about October 19, 2016, the VCF mailed
a letter to VILA’s Law Firm that was intended for Victim-1.
That letter confirmed “that payment has been made on [Victim-
1’s] claim and was received via electronic transfer by the
designated financial institution [i.e., the Bank Account],” and
stated that “[Victim-1’s] claim is now paid in full.” VILA did
not give this letter to Victim-1 or otherwise inform Victim-1 of
the letter or its contents.

                g.   On or about October 26, 2016, VILA sent a
check to Victim-1 in the amount of $103,062.20—approximately 10%
of Victim-1’s compensation award from VCF. The memo on the
check read “Sept 11th Comp. Fund.” This is the only portion of
his VCF compensation award that Victim-1 has received to date.

          8.   Based on my conversations with other law
enforcement officers who interviewed Victim-1 and his spouse,
and my review of emails and text messages between GUSTAVO L.
VILA, the defendant, and Victim-1, I have learned, among other
things, that from at least in or about October 2016 to in or
about February 2020, VILA falsely represented to Victim-1 that
the VCF had not yet released the balance of Victim-1’s VCF
award.

The Defendant Stole Victim-1’s VCF Award

          9.   Based   on my review of bank records, I have
learned, among other   things, that other than the 10% he gave to
Victim-1, GUSTAVO L.   VILA, the defendant, has not given Victim-
1’s VCF compensation   award to Victim-1. Rather, VILA kept


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Victim-1’s VCF compensation award for himself and used that
money for his own benefit. For example:

                a.  On or about October 1, 2016, the Bank
Account had a balance of $0.

                b.  On or about October 12, 2016, the VCF
deposited the full amount of Victim-1’s award—$1,030,622.04—into
the Bank Account.

                c.  On or about October 13, 2016, VILA wrote a
check from the Bank Account to a third party for $190,000.

                d.  On or about October 13, 2016, VILA wrote a
check from the Bank Account to another law firm for $87,231.50.

                e.  On or about October 14, 2016, VILA wrote two
checks from the Bank Account to VILA’s then-wife for $96,270.95
and $86,000, respectively.

                f.  On or about October 15, 2016, VILA wrote a
check from the Bank Account to the United States Treasury in the
amount of $16,429 for his “2015 taxes.”

                g.  On or about October 19, 2016, VILA wrote a
check from the Bank Account to himself for $6,000.

                h.  On or about October 21, 2016, VILA wrote a
check from the Bank Account to his son for $5,000.

                i.  On or about October 28, 2016, VILA wrote a
check from the Bank Account to VILA’s then-wife for $103,062.20.

The Defendant Admitted That He Stole Victim-1’s VCF Award

          10. Based on my conversations with other law
enforcement officers who interviewed Victim-1 and his spouse, my
review of audio recordings collected from Victim-1 and his
spouse, and my review of emails between Victim-1 and GUSTAVO L.
VILA, the defendant, I have learned, among other things that:

                a.  In or about January 2020, Victim-1 learned
for the first time that VILA had previously been disbarred and
had not been licensed to practice law in New York since at least
in or about 2015.




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                b.  On or about February 3, 2020, Victim-1
contacted VCF, which informed Victim-1 that his entire award had
been released in 2016, with no restrictions on its immediate
distribution to Victim-1. When confronted with that
information, VILA agreed to meet with Victim-1 and his spouse.

                c.  On or about February 4 and February 8, 2020,
Victim-1 and his spouse met with VILA. During each meeting,
VILA admitted to stealing Victim-1’s VCF award.

          11. For the reasons set forth above, there is
probable cause to believe that GUSTAVO L. VILA, the defendant,
stole and used for his own purposes approximately $927,559 of
the approximately $1,030,622.04 that Victim-1 was awarded by the
federal government’s September 11th Victim Compensation Fund.

          WHEREFORE, I respectfully request that a warrant be
issued for the arrest of GUSTAVO L. VILA, the defendant, and
that he be arrested, and imprisoned or bailed, as the case may
be.
                             /s/ Daniel Goldstein, electronic signature placed by USMJ Lisa
                             Margaret Smith with permission of the witness
                              ________________________
                              DANIEL GOLDSTEIN
                              Special Agent
                              Department of Justice
                              Office of the Inspector General
                                                 Cred # 308

Sworn to me through the transmission of this
Affidavit by reliable electronic means,
pursuant to Federal Rules of Criminal Procedure
41(d)(3) and 4.1 this,

2o
__th day of August, 2020

___________________________________
THE HONORABLE LISA MARGARET SMITH
United States Magistrate Judge
Southern District of New York




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